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 1                                                                     THE HONORABLE ROBERT S. LASNIK
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 4
                                  UNITED STATES DISTRICT COURT
 5                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 6

 7         CHARLOTTE WINELAND, Individually,                          Case No. 2:19-cv-00793-RSL
           and SUSAN WINELAND, as Personal
 8         Representative of the Estate of JOHN DALE                     STIPULATION AND ORDER OF
           WINELAND, Deceased,                                           DISMISSAL AS TO PLAINTIFFS’
 9                                                                       CLAIMS OF EXPOSURE POST
                                Plaintiffs,                              JANUARY 1, 1980, ONLY, AS TO
10                                                                       DEFENDANT ANCHOR/DARLING
                 vs.                                                     VALVE COMPANY ONLY
11
           AIR & LIQUID SYSTEMS
12         CORPORATION, et al.

13                              Defendants.

14
                Plaintiffs and Defendant Anchor/Darling Valve Company stipulate to the entry of the
15   following Order of Dismissal as to Plaintiffs’ Claims of Exposure Post January 1, 1980, Only, as

16   to Defendant Anchor/Darling Valve Company Only, without further Notice, without prejudice and

17   without costs to either party, reserving to plaintiffs their claims against all other parties.

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      STIPULATION AND ORDER OF                FROST LAW FIRM, PC                      WEINSTEIN CAGGIANO PLLC
      DISMISSAL AS TO PLAINTIFFS’                     273 WEST 7th STREET                     600 University Street, Suite 1620
                                                 SAN PEDRO, CALIFORNIA 90731                SEATTLE, WASHINGTON 98101
      CLAIMS OF EXPOSURE POST             (866) FLF-MESO - FACSIMILE (833) FLF-MESO    (206) 508-7070 - FACSIMILE (206) 237-8650
      JANUARY 1, 1980, AS TO
      DEFENDANT
      ANCHOR/DARLING VALVE
      COMPANY ONLY - 1
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                                                                         3




 1         Dated this 30th day of September, 2020.
 2         /s/ Andrew Seitz                                                 _/s/ Jeffrey M. Odom____________
           Andrew Seitz (Pro Hac Vice)                                      Jeffrey M. Odom, WSBA No. 36168
 3         FROST LAW FIRM, PC                                               Angie R. Nolet, WSBA No. 50059
           270 West 7th Street                                              1420 Fifth Avenue, Suite 4200
 4         San Pedro, California                                            P.O. Box 91302
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                                                                            Facsimile: 206.223.7107
 6          and                                                             Email: odomj@lanepowell.com
                                                                            noleta@lanepowell.com
 7          WEINSTEIN CAGGIANO PLLC                                         asbestos@lanepowell.com
            Brian D. Weinstein, WSBA # 24497                                docketing-sea@lanepowell.com
 8          Alexandra B. Caggiano, WSBA
            #47862                                                          Counsel for Anchor/Darling Valve
 9          600 University Street, Suite 1620                               Company
            Seattle, Washington 98101
10          Telephone: (206) 508-7070
            Facsimile: (206) 237-8650
11
            Counsel for Plaintiffs
12

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23
     STIPULATION AND ORDER OF            FROST LAW FIRM, PC                      WEINSTEIN CAGGIANO PLLC
     DISMISSAL AS TO PLAINTIFFS’                 273 WEST 7th STREET                      600 University Street, Suite 1620
                                            SAN PEDRO, CALIFORNIA 90731                 SEATTLE, WASHINGTON 98101
     CLAIMS OF EXPOSURE POST         (866) FLF-MESO - FACSIMILE (833) FLF-MESO     (206) 508-7070 - FACSIMILE (206) 237-8650
     JANUARY 1, 1980, AS TO
     DEFENDANT
     ANCHOR/DARLING VALVE
     COMPANY ONLY - 2
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 1                                       ORDER OF DISMISSAL
 2          THIS MATTER having come before the Court by way of Stipulation by Plaintiffs and
 3   Defendant Anchor/Darling Valve Company to dismiss Plaintiffs’ claims of exposure post
 4   January 1, 1980, only, as to Defendant Anchor/Darling Valve Company only; and the Court being
 5   fully advised in the premises, now, therefore,
 6          IT IS HEREBY ORDERED that all Plaintiffs’ claims of exposure post January 1, 1980,
 7   only, as to Defendant Anchor/Darling Valve Company only, are hereby dismissed without
 8   prejudice and without costs.
 9                       1st day of _____________,
            DATED this _____          October      2020.
10

11                                          ___________________________________
                                            UNITED STATES DISTRICT JUDGE
12
     Presented by:
13   FROST LAW FIRM, PC
     Andrew Seitz, CA Bar No. 273165
14   Admitted Pro Hac Vice
     Scott L. Frost, WSBA No. 54685
15   273 West 7th Street
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16   Tel: (866) FLF-MESO
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17
     and
18
     WEINSTEIN CAGGIANO PLLC
19   Brian D. Weinstein, WSBA No. 24497
     Alexandra B. Caggiano, WSBA No. 47862
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     Seattle, Washington 98101
21   Telephone: (206) 508-7070
     Facsimile: (206) 237-8650
22   Attorneys for Plaintiffs
23
      STIPULATION AND ORDER OF              FROST LAW FIRM, PC                      WEINSTEIN CAGGIANO PLLC
      DISMISSAL AS TO PLAINTIFFS’                   273 WEST 7th STREET                     600 University Street, Suite 1620
                                               SAN PEDRO, CALIFORNIA 90731                SEATTLE, WASHINGTON 98101
      CLAIMS OF EXPOSURE POST           (866) FLF-MESO - FACSIMILE (833) FLF-MESO    (206) 508-7070 - FACSIMILE (206) 237-8650
      JANUARY 1, 1980, AS TO
      DEFENDANT
      ANCHOR/DARLING VALVE
      COMPANY ONLY - 3
